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               IN THE UNITED STATES BANKRUPTCY COURT FOR
                   THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                             CHAPTER 13 CASE NO.:

BENJAMIN B. FISHER                                            17-10176-JDW

     JOINDER IN RESPONSE TO DEBTOR’S MOTION TO REINSTATE CASE

      COMES NOW Locke D. Barkley, Chapter 13 Trustee, by and through counsel,

and files this joinder in the Response to Debtor’s Motion to Reinstate Case (Dkt. #63)

filed by Community Mortgage & Loan dba Beswa Finance, and in support states as

follows:

      1.     The Trustee joins Community Mortgage & Loan dba Beswa Finance in

opposition to the Debtor’s Motion to Reinstate Case (Dkt. #56) (the “Motion”).

      2.     The Debtor is not current on payments through March as alleged in

paragraph 3 of the Motion. Through March the Debtor is delinquent $3,508.00 in

scheduled payments, which reflects credit for $716.00 received from the Debtor,

following dismissal, on April 6, 2018.

      3.     The case was dismissed with the entry of the Final Order of Dismissal

(Dkt. #53) (the “Order”) on March 2, 2018. The Order was presented to the Court and

entered due to the Debtor’s noncompliance with the Agreed Order Denying Motion to

Dismiss (Dkt. #46) (the “Agreed Order”) after he became 30 days delinquent in plan

payments.




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       4.    The Order provided that the “Debtor shall be ineligible to be a debtor in a

bankruptcy for a period of 180 days following entry of this order.” This prohibition was

based upon the agreement of the parties as set forth in the Agreed Order.

       5.    The Motion is an attempt by the Debtor to circumvent a prior agreement

made with the Trustee which rendered him ineligible for bankruptcy following the

dismissal of the bankruptcy case.

       WHEREFORE, PREMISES CONSIDERED, Locke D. Barkley, Chapter 13 Trustee,

prays that upon notice and hearing that this Court enter its order denying the Debtor’s

motion and for such other relief to which the Trustee and this bankruptcy estate may be

entitled.

       Dated: May 3, 2018

                                        Respectfully submitted,
                                        LOCKE D. BARKLEY, TRUSTEE

                                        BY: /s/ W. Jeffrey Collier
                                        W. JEFFREY COLLIER, ESQ.
                                        Attorney for Trustee
                                        6360 I-55 North, Suite 140
                                        Jackson, Mississippi 39211
                                        (601) 355-6661
                                        ssmith@barkley13.com
                                        MSB No. 10645




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                              CERTIFICATE OF SERVICE

        I, the undersigned attorney for the Trustee, do hereby certify that I electronically
filed the foregoing with the Clerk of Court using the CM/ECF system, and I hereby
certify that I either mailed by United States Postal Service, first class, postage prepaid,
or electronically notified through the CM/ECF system, a copy of the above and
foregoing to the Debtor, attorney for the Debtor, the United States Trustee, and other
parties in interest, if any, as identified below.

       Dated: May 3, 2018

                                          /s/ W. Jeffrey Collier
                                          W. JEFFREY COLLIER




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